  Case 16-01120           Doc 74-3 Filed 12/21/17 Entered 12/21/17 15:36:07               Desc
                            Affidavit of Daniel Gersh Page 1 of 1


                                         ,\-
                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MASSACUSETTS

                                               )
In re:                                         )    Chapter 7
                                               )    No. 15-1388I-FJB
LYMAN-CUTLER, LLC,                             )
                                               )
                Debtor.                        )
                                               )


                                               )
LYMAN-CUTLER, LLC,                             )
                                               )
         Ptaintifi                             )
                                               )    Adv. Pro. No. 16-01120
         v'w                   )
                          w )
VADM KAGAN, TATIANA KAGAN,ftT' )
KAGAN DEVELOPMENT KDC, CORP. )
and PROEXCAVATIO-N CORP.                       )
                                               )
         Defendants.                           )
                                               )


                                AFFIDAVIT OF DANIEL GERSH

         I, Daniel Gersh, depose and state on my own personal knowledge as follows:

    l. IruntheaccountingdeparhnentforKaganDevelopmentKDC, Corp. ('KDC"). Ialso
         manage the furancial books and records for ProExcavation Corp. ('ProExcavation")

    2. As part of its effort to track project costs, KDC has separate American Express cards
         issued which are dedicated to each individual project on which KDC works. During the
         pendency of the Lyman-Cutler project, KDC wolked on approximately twenty separate
         projeots and therefore had approxirhately twenty different cards. The dedicated
         American Express card for the Lyman-Cutler project €nds in account no. 91100.

                 SIGNED UNDER THE PAINS AND PENALTIES OF PERruRY THIS zobav
         oF4EflywR,2017.
